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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION
                                      www.flsb.uscourts.gov

In re:                                                      Case No.: 18-14162-EPK
                                                            Chapter 7
FORTE INTERACTIVE, INC.,

    Debtor.
_____________________________________/

DEBORAH C. MENOTTE, not individually,
but as Chapter 7 Trustee for the
bankruptcy estate of the Debtor,
FORTE INTERACTIVE, INC.,

         Plaintiff,
vs                                                          ADV. NO.: 20-01120-EPK

ALBERT CLAY WILLIAMS, an individual;
MARIANNA WILLIAMS, an individual;
ROBERT ANDERSON, an individual;
313 DATURA, LLC, a Florida limited liability
company; THE ACHIEVE AGENCY, LLC.,
a/k/a NONPROFIT ADVISORS, LLC,
a Florida limited liability company;
ACHIEVE OF FLORIDA, LLC,
a Florida limited liability company; and
WELLS FARGO BANK, NATIONAL
ASSOCIATION,

      Defendants.
______________________________________/

                                  CERTIFICATE OF SERVICE

         I, Rilyn A. Carnahan, certify that service of this summons and a copy of the complaint and
the Order Setting Filing and Disclosure Requirements was made on March 30, 2020 by:


xxx Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:

Albert Clay Williams
117 Casa Circle
Jupiter, FL 33458

Marianna Williams
117 Casa Circle
Jupiter, FL 33458

Robert Anderson
307 Evernia Street, Ste. 300
West Palm Beach, FL 33401
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313 Datura, LLC
c/o Jones Foster Service, LLC, Registered Agent
505 South Flagler Drive, Ste. 1100
West Palm Beach, FL 33401

The Achieve Agency, LLC a/k/a
Nonprofit Advisors, LLC
c/o Jones Foster Service, LLC, Registered Agent
505 South Flagler Drive, Ste. 1100
West Palm Beach, FL 33401

The Achieve Agency, LLC
c/o Jones Foster Service, LLC, Registered Agent
505 South Flagler Drive, Ste. 1100
West Palm Beach, FL 33401

Nonprofit Advisors, LLC
c/o Jones Foster Service, LLC, Registered Agent
505 South Flagler Drive, Ste. 1100
West Palm Beach, FL 33401

Achieve of Florida, LLC
c/o Jones Foster Service, LLC, Registered Agent
505 South Flagler Drive, Ste. 1100
West Palm Beach, FL 33401

Wells Fargo Bank, National Association
c/o Corporation Service Company, Registered Agent
1201 Hays Street
Tallahassee, FL 32301-2525

Wells Fargo National Association
Attn: Mary Jane Conley
1620 East Roseville Parkway
1st Floor #100
Roseville, CA 95661
bankruptcycls@wellsfargo.com


          Personal Service: By leaving the process with defendant or with an officer or
          agent of defendant at:



           Residence Service: By leaving the process with the following adult at:



          Certified Mail Service on an Insured Depository Institution: By sending the process by
          certified mail addressed to the following officer of the defendant at:



           Publication: The defendant was served as follows: [Describe briefly]


       State Law: The defendant was served pursuant to the laws of the State of Florida
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                                             , as follows: [Describe briefly]

        If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and not a
party to the matter concerning which service of process was made.


        Under penalty of perjury, I declare that the foregoing is true and correct.

Date: March 30, 2020                                            Signature: /s/Rilyn A. Carnahan



                     Print Name: Rilyn A. Carnahan, Esq.

                     Address: 525 Okeechobee Blvd., Suite 900

                     West Palm Beach           State: FL             Zip: 33401
